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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)

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    Counsel for Ad Hoc Committee of States


    In re:
                                                                     Case No.: 21-30589 (MBK)
    LTL MANAGEMENT, LLC,
                                                                     Chapter: 11
                            Debtor.1
                                                                     Hearing Date: April 12, 2022

                                                                     Hon. Michael B. Kaplan


   ORDER GRANTING MOTION OF THE AD HOC COMMITTEE OF STATES
HOLDING CONSUMER PROTECTION CLAIMS SEEKING RELIEF WITH RESPECT
         TO THE ORDER ESTABLISHING MEDIATION PROTOCOL



    The relief set forth on the following pages numbered two (2) and three (3), is
ORDERED.




1
 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
Street, New Brunswick, New Jersey 08933.


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LTL MANAGEMENT LLC

Chapter 11, Case No.: 21-30589 (MBK)

Order Granting Motion of the Ad Hoc Committee of States Holding Consumer Protection
Claims Seeking Relief with Respect to Order Establishing Mediation Protocol

        Upon consideration of the Motion (“Motion”) of the The Ad Hoc Committee of States

Holding Consumer Protection Claims (the “Ad Hoc Committee of States”), 2 seeking relief with

respect to the Order Establishing Mediation Protocol (Dkt. 1780) (“Mediation Order”); any

opposition thereto; notice of the Motion being appropriate under the circumstances; after

consideration of the arguments of counsel and for the reasons stated on the record at the hearing

on April 12, 2022,

        It is hereby ORDERED:

        1.       That the Motion should be, and it hereby is, GRANTED.

        2.       Paragraph 2 of the Mediation Order is hereby stricken and replaced with the

following: “The Co-Mediators are authorized to mediate (the “Mediation”) a resolution of the

claims held by parties represented by the Mediation Parties (as defined in the Mediation Order),

including, without limitation, the estimation and plan treatment of only such claims.”

        3.       The following sentence shall be added to the end of Paragraph 4(k) of the Mediation

Order: “Notwithstanding the foregoing, nothing shall preclude or bar the Co-Mediators or any




2
          The Ad Hoc Committee of States is in the process of forming and the member states may be modified through
the filing of an amended Notice of Appearance or other applicable filing. The current members of the Ad Hoc
Committee of States (“Member States”) are: Alabama, Alaska, Arkansas, Arizona, Colorado, Connecticut, Delaware,
Florida, Hawaii, Idaho, Illinois, Iowa, Kansas, Kentucky, Maine, Maryland, Massachusetts, Michigan, Minnesota,
Mississippi, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New York, North Carolina, North Dakota,
Ohio, Oklahoma, Oregon, Rhode Island, South Dakota, Texas, Utah, Vermont, Virginia, Washington, Washington,
D.C., West Virginia and Wisconsin.


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Mediation Party from disclosing information related to paragraph 4(k)(1), 4(k)(3), 4(k)(4), 4(k)(5),

and 4(k)(7) to the Ad Hoc Committee of States.”

       4.      Paragraph 4(l) of the Mediation Order is hereby stricken and replaced with the

following: “For the avoidance of doubt, nothing herein prohibits a Mediation Party from discussing

its own position with respect to treatment of claims in the Case or disclosing its own work product

or underlying documents that were not prepared by another Mediation Party or the Mediators for

the purposes of Mediation solely because such documents were also used in whole or in part during

the Mediation.”

       5.      The Mediation Order shall not be interpreted to permit ex parte communications

with the Court.




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